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                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF COLORADO

In Re:                                                                                       Chapter 13
                                                                                 Case No. 12-12346-JGR
FREDERICK ALEX ROMERO, JR., AKA FREDERICO A ROMERO, JR. and BERNICE
MARIE ROMERO, Debtor(s),
FLAGSTAR BANK, FSB, Successors, Assigns, Servicers, Investors and Trustees, Movant.



                                 LIST OF WITNESSES AND EXHIBITS


       FLAGSTAR BANK, FSB, Successors, Assigns, Servicers, Investors and Trustees, by and
through its counsel, Barrett Frappier & Weisserman, LLP, designates the following witnesses
and exhibits for the hearing on November 7, 2017, at 9:30 AM in Courtroom B.

                                                  I. WITNESSES

Movant will call the following witnesses:

1.    A representative of Movant, to testify regarding the subject note, subject deed of trust,
ownership of the note, the loan history, the default, and the total amount of the debt owed.

2.       Debtor(s) to testify as an adverse witness.

Movant may call the following witnesses:

1.       Any witness needed for rebuttal.

2.       Any witness endorsed by any other party.




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                                                   II. EXHIBITS

Movant intends to introduce as exhibits at the hearing/trial those exhibits enumerated in
Attachment 1, attached hereto and incorporated herein.




DATED: November 6, 2017                                    BARRETT FRAPPIER & WEISSERMAN, LLP

                                                           /s/ Lauren E. Tew
                                                           Lauren E. Tew
                                                           1199 BANNOCK STREET
                                                           DENVER, CO 80204
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 Document to be
 retained in file of
                                                           Email Address: co.ecf@bdfgroup.com
 Barrett Frappier &
 Weisserman, LLP




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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF COLORADO

In Re:                                                                                          Chapter 13
                                                                                   Case No. 12-12346-JGR

FREDERICK ALEX ROMERO, JR., AKA FREDERICO A ROMERO, JR. and BERNICE
MARIE ROMERO, Debtor(s),

FLAGSTAR BANK, FSB, Successors, Assigns, Servicers, Investors and Trustees, Movant.


                                             ATTACHMENT 1
                                          EXHIBITS FOR HEARING


         Submitted by: FLAGSTAR BANK, FSB, Movant.
         In connection with: Motion for Relief Hearing November 7, 2017 at 9:30 AM Courtroom
         B.




    Exhibit            Description                Offered        Admitted   Additional Comments
    Number                                       (Yes/No)        (Yes/No)
1             Note
2             DOT
3             Assignment
4             Payment history
5             Response to NOFC
6             Debtor’s Schedule A
7             Proof of Claim No. 1-1
              Any exhibit necessary
              for      rebuttal      or
              impeachment purposes
              and    any     document
              presented by or listed by
              another party.




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                                               Certificate of Service

The undersigned has confirmed that copies of the foregoing were mailed, first class, postage
prepaid on November 6, 2017 on all parties against whom relief is sought and those otherwise
entitled to service pursuant to FRBP and these LBR at the following addresses:

BRYAN C SULLIVAN
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LITTLETON, CO 80120-4457
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ADAM M. GOODMAN
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DEBTORS:
FREDERICK ALEX ROMERO, JR.
6400 GRAPE ST
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BERNICE MARIE ROMERO
6400 GRAPE ST
COMMERCE CITY, CO 80022-2422



                                                       /s/ Lauren E. Tew




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